AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of Nebraska
                                                               District of __________

                                                                     )
                                                                     )
                                                                     )
                          JANE DOE,                                  )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 8:21-cv-401
                                                                     )
                                                                     )
                                                                     )
                                                                     )
           LYFT, INC., A California corporation,                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lyft, Inc.
                                           c/o C T Corporation System
                                           5601 South 59th Street, Suite C
                                           Lincoln, NE 68516




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Maren Lynn Chaloupka
                                           Chaloupka Law LLC
                                           P.O. Box 1724
                                           Scottsbluff, NE 69363-1724




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             10/12/2021
                                                                                          Signature of Clerk or Deputy Clerk
